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UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF IDAHO

 

 

UNITED STATES OF AMERICA `
z §§ § m l
CaseNo. CR m 1-:- §§ a °~>" 1 552 § DCN l
Plaintiff, l
INDICTMENT ‘
Vs. _
18 U.S.C. §§ 641,981(a)(l)(C)
JOHN WOODWARD, 28 U.S.C. § 2461
Defendant.
The Grand Jury charges:

COUNT ONE

Theft of Government Property
18 U.S.C. § 641

On or about March 18, 2016, in the District of Idaho, the defendant, JOHN
WOODWARD, did knowingly and intentionally steal and convert to his own use and the use of
another, property belonging to the United States of a Value in excess of $1000.00 , to Wit: a

Sarnsung flat-screen television, a DeWalt lS-volt kit impact Wrench, a DeWalt 1/2 inch cordless

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hammer drill, and a DeWalt 3/ 8 inch cordless drill, with the intent to deprive the owner of the

use and benefit of the property, in violation of Title 18, United States Code, Section 64l.

CRIMINAL FORFEITURE ALLEGATION
18 U.S.C § 981(a)(1)(C), 28 U.S.C. § 2461

As a result of the violations of Title 18, United States code, Section 641, Defendant,
JOHN WOODWARD, shall forfeit to the United States all property and property interests
described below:

l. Seized Personal Propertv: a Samsung flat-screen television, DeWalt lS-volt kit
impact wrench, DeWalt l/2 inch cordless hammer drill, and a DeWalt 3/ 8 inch cordless drill.

2. Unrecovered Cash Proceeds. The defendant obtained and controlled unrecovered
proceeds of the offense of conviction, or property derived from or traceable to such proceeds, but
based upon actions of the defendant, the property was transferred, diminished, comingled, or is
otherwise unavailable

3. Substitute Assets. Pursuant to 21 U.S.C. § 853 and other applicable statutes, the
government will seek forfeiture of substitute assets, “or any other property of the defendant” up
to the value of the defendant’s assets subject to forfeiture The government will do so when the
property subject to forfeiture cannot be forfeited for one or more of the following reasons:

a. Cannot be located upon the exercise of due diligence;

b. Has been transferred or sold to, or deposited with, a third person;
c. Has been placed beyond the jurisdiction of the court;

d. Has been substantially diminished in value ; or

Has been commingled with other property Which cannot be subdivided without difficulty.

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‘ q Hx
Dated this t day of November, 2017.

A TRUE BILL

/s/ [signature on reverse]

 

FOREPERS ON

BART M. DAVIS
UNITED STATES ATTORNEY
By:

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TARA MALEK
ASSISTANT UNITED STATES ATTORNEY

 

 

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